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 6
 7               IN THE   UNITED STATES DISTRICT COURT FOR THE
 8                        EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,          )       01: 08-Cr-00384 OWW
10                                      )
                  Plaintiff,            )       STIPULATION REGARDING
11                                      )       RESTITUTION OWED BY DEFENDANT
          v.                            )       RAYMOND MOTT and ORDER
12                                      )
     RAYMOND MOTT,                      )
13                                      )
                  Defendant.            )
14                                      )
                                        )
15
16        The parties have reached the following agreements regarding
17   the issue of restitution and request that the court issue the
18   accompanying proposed order.
19        1.)   The defendant previously agreed that the Mandatory
20              Victim Restitution Act requires the Court to order
21              restitution to the victims of certain offenses.         In
22              addition to that restitution, the defendant agrees that
23              the Court may order full restitution to any person who
24              would qualify as a victim of the following offenses
25              under 18 U.S.C. § 3663 or 3663A had the defendant been
26              convicted of such an offense: 18 U.S.C. § 2318
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28                                          1
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 1              (Counterfeit labels).       Payment should be by cashier's or
 2              certified check made payable to the Clerk of the Court.
 3        2.)   The government has identified numerous persons and/or
 4              entities who are, for purposes of restitution in this
 5              case, victims.     Their identifying information has been
 6              provided to the defendant and will be provided to the
 7              United States Probation Office and court for purposes of
 8              preparing an amended judgement and to account for
 9              payments made by the defendant.
10        3.)   The defendant will pay restitution in amount of
11              $7500.00, as directed by the United States Probation
12              Office.   The United States District Court for the
13              Eastern District of California will disburse payments to
14              identified victims.
15        4.)   The defendant understands and agrees that his obligation
16              to pay $7500.00 in restitution to victims in this case
17              will remain regardless of any amount(s) of restitution
18              that any other co-defendant may or may not also make in
19              satisfaction of any judgement in this case..
20                                              Respectfully submitted,
21                                              BENJAMIN B. WAGNER
                                                Acting United States Attorney
22
23   DATED: September 24, 2010         By        /s/ DAVID L. GAPPA
                                                DAVID L. GAPPA
24                                              Assistant U.S. Attorney
25
     DATE: September 24, 2010          By       /s/ MARK COLEMAN
26                                              MARK COLEMAN
                                                Attorney for Raymond Mott
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28                                          2
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 1
 2
                                        ORDER
 3
          The court has reviewed and considered the agreement of the
 4   parties regarding restitution. Defendant MOTT is ordered to pay
     restitution in the amount of $7500 as directed by the United
 5   States Probation Office.
 6   IT IS SO ORDERED.
 7   Dated: October 13, 2010                /s/ Oliver W. Wanger
     emm0d6                            UNITED STATES DISTRICT JUDGE
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